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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 22-20326-CR-KMM

UNITED STATES OF AMERICA
vs.
ANDRE LORQUET,
Defendant.
/
FACTUAL PROFFER

The United States of America and Defendant Andre Lorquet (LORQUET) agree that had
this case proceeded to trial, the United States would prove beyond a reasonable doubt the following
facts, among others, which occurred in the Southern District of Florida.

On June 3, 2020, a first draw PPP application for Miami Ent, LLC (“MEL”) was submitted
online to BlueVine. MEL was registered in the State of Florida on March 25, 2019 by.
LORQUET. BlueVine is a loan processor in California with servers located outside the State of
Florida. The name and phone number on MEL’s application were LORQUET’s and the email!
address was miamientllc@gmail.com, which, is registered : to LORQUET. In the PPP
application, LORQUET represented that MEL had 10 employees and an average monthly payroll
of $86,258. The borrower application form requested 2.5 times that, or $215,645, in PPP funds.
This was the maximum amount LORQUET could request.

As proof of payroll, LORQUET included an IRS Form 940 for tax year 2019, which reports
a taxpayer’s annual employment taxes. MEL’s Form 940 reported that MEL paid $1 ,035,091 to
its 10 employees in TY 2019. It is signed by LORQUET and dated January 20, 2020. This

Form 940 was fraudulent. Among other things, MEL has never paid taxes to the Internal
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Revenue Service, nor has MEL ever reported having employees or wages to the Florida
Department of Revenue.

On June 5, 2020, $215,645.00 in PPP funds were deposited into Account 2431 in the
name of MEL at TD Bank. MEL and LORQUET held six accounts at TD Bank. According to
the account opening documents, the TD Bank accounts were opened in person, at local bank
branches, by LORQUET, with his Florida driver’s license. On June 10, 2020, LORQUET
transferred $93,439.83 from Account 2431-to Tesla Motors.

‘On June 20, 2020, an EIDL application for MEL was submitted online to the SBA. The
EIDL application for MEL represented that MEL’s gross revenue from January 31, 2019 until
January 31, 2020 was $525,675, that the cost of goods sold was $275,950, and that in January 2020
MEL had 10 employees. On June 22, 2020, a $10,000 EIDL advance was deposited into Account
2431. The same day, LORQUET wired $30,000 from Account 2431 to Countyline Auto Center
with memo line: “From Miami Ent LLC For Porsche Panamera Deposit.” A day after that, on
June 23, 2020, an EIDL loan for $114,800 was deposited into Account 2431. Two-days later, on
June 24, 2020, LORQUET wired another $29,000 from MEL 2431 to Countyline Auto with the
memo line “For Porsche. Panamera.”

On March 18, 2021, a second ‘draw PPP. application for MEL was submitted online to
American Lending Centre. American Lending Centre is a participating lender in California with
computer servers outside the State of Florida, The PPP application to ALC included the same
fraudulent Form 940 that was attached to MEL’s first draw application. The loan was approved,
and on June 1, 2021, $215,643.95.in PPP funds were deposited into Account 2431.

On August 18, 2021, an SvOG application for MEL was submitted online to the SBA.
The SVOG application for MEL included a fraudulent IRS Form 1120-S for tax year 2019 which

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listed MEL’s gross revenue as $5,444,292. On November 12, 2021, a letter was sent to SBA
appearing to be from C.D., a tax preparer, confirming that MEL had filed its taxes in 2019. The
letter attached a fraudulent tax transcript and a copy of the Form 1120-8. The Form 1120-8 listed
C.D. as the tax preparer and included her IRS Electronic Filing Identification Number (“E-FIN”).
SBA awarded MEL the SVOG grant and, on November 22, 2021, $2,501.259.34 was deposited
by the SBA into Account 2431 . Before those funds were deposited, on November 19, 2021,
Account 2431 had a balance of less than $800 dollars. On November 30, 2021, a supplemental
award in the amount of $1,358.45 I .70 was deposited into Account 2431.

On December !, 2021, LORQUET transferred $400,000 of the SVOG grant from Account
2431 to Account 3570, and from there wired $329,195 to Elite Motor Cars of Miami LLC with
reference “2022 URUS.” Also on December 1, 2021, LORQUET signed purchase documents
for Lamborghini Urus VIN# ZPBUAIZLINLAI6143. Five days later, on December 6, 2021,
LORQUET transferred $158,653.33 of the SVOG grant from Account 2431 to Tesla Motors.
LORQUET aiso spent $30,900 of the SVOG grant on.a diamond Audemars Piguet watch, a rose
gold and diamond pendant with MEL’s logo, a half kilogram gold chain with 70 carats of

diamonds, and a | kilogram gold chain.
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The information contained in this proffer is not a complete recitation of all the facts and
circumstances of this case, but the parties admit that it is sufficient to.prove beyond a reasonable
doubt a violation of Title 18, United States Code, Section 1957, that is, money laundering, and

Title 18, United States Code, Section 1028A, that is, aggravated identity theft, as charged in the

Indictment.
MARKENZY LAPOINTE
UNITED STATES ATTORNEY
Date: J / ri / Ww By: wry
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*ZELIKA BOZANIC
ATTORNEY FOR DEFENDANT
Date: 1/3] / Ld 3 By: pad
ANDRE LORQUET
DEFENDANT
